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 AO 91(Rev. 1U11) Criminal Complaint                        AUSA Matthew S. Ebert (312) 353-5354
                                     UNITED STATES DISTRICT COURT
                                     NORTHERN DISTRICT OF ILLINOIS                    FI LED
                                              EASTERN DIVISION
                                                                                               FEB   20 2010      )
 UNITED STATES OF AMERICA
                                                       CASE NUMBER:                  .iEHSUtlrB'R[Y[8U*i

 LAWRENCE L. JACKSON,
                           v.
                                                       *,T'SCR                                 111
        also known as "Tank"
                                                                        MAGISTRATE JUDGE FITIIIEGAI
                                     CRIMINAL COMPI,AINT
        I, the complainant in this case, state that the following is true to the best of my knowledge
and belief. From on or about February 16,20L8, through at least on or about February L7,2018,
in the Northern District of Illinois, Eastern Division, the defendant violated:
      Code Section                                   Offense Description
      Title   1-8,   United States Code, Section With the intent to kill, injure, harass, intimidate,
      2261A(2)(A)                                used an interactive computer service or electronic
                                                     communlcation service or                        electronic
                                                     communication system of interstate commerce, or

                     FILEtr)                         any other facility of interstate commerce, namely,
                                                     cellulartelephone networks and text messages, to
                                                     engage in a course of conduct that placed Victim
                          FEB   20 2010              A in reasonable fear of death or serious bodily
                                                     injury, or caused, attempted to cause, or would be
                      glf$lfltrLf,il,EBf,fr          reasonably expected to cause substantial
                                                     emotional distress to Victim A.

     This criminal complaint is based upon these facts:
      X    Continued on the attached sheet.
                                                                             D
                                                                 DOIIYON
                                                         Inspector, United States Posfuil Inslptiction Service

Sworn to before me and signed in my presence.

Date: February 20. 2018


 City and state: Chicago, Illinois
                                                                      Printed name and Title
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 UNITED STATES DISTRICT COURT

 NORTHERN DISTRICT OF ILLINOIS

                                        AT'FIDAVIT

      I, SASIIA DOIIYAN, being duly sworn, state as follows:

      1.       I am a Postal Inspector with the United States Postal Inspection Service

(USPIS), and have been so employed for four years. My current responsibilities

include the investigation of crimes involving the United States Postal Service, which

includes investigating work place violence and threats against United States Postal

Service employees.

      2.     This afiidavit is submitted in support of a criminal complaint alleging

that LAWRENCE L. JACKSON a/k/a "Tank," has violated Title 18, United States

Code, Section 226t4(2)(A). Because this affi.davit is being submitted for the limited

purpose of establishing probable cause in support of a criminal complaint charging

JACKSON with cyberstalking, in violation of Title L8, United States Code, Section

226t4(2)(A),   I   have not included each and every fact known to me or others

concerning this investigation.      I   have set forth only the facts that   I believe are
necessary to establish probable cause to believe that the defendant committed the

offense alleged in the complaint.

      3.     This affidavit is based on my personal knowledge, information provided

to me by other individuals and other law enforcement officers, and my review of

reports and electronic communications-namely, text messages.
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      4.        Beginning on or about February 16, 2018, through at least on or about

February   L7   , 20t8, JACKSON has used an interactive computer service, electronic
communication service, electronic communication system of interstate commerce,

and other facilities of interstate commerce, namely, cellular telephone networks and

text messages, to engage in a course of conduct that placed Victim A in reasonable

fear of death or serious bodily injury, including, as discussed below, entering into

Victim A's home (including into Victim A's bedroom) after midnight while Victim A

was elsewhere and, from within Victim A's own home, threatening Victim A with a

series of texts messages that stated, among other things,     "I'll   be here w[h]en you get

here;" "I'm gonna fuck you up"; "Bitch I'm going to    kill you I'm telling you now;" and
"bring him with you please I got something for the both of yall just come home."

I.    CYBERSTALKING STATUTORYDEFINTIONS

      5.        Stalking is covered   in the United States Code under the Domestic
Violence and Stalking chapter of Title 18 effective October L, 2013, as part of the

Violence Against Women Reauthorization Act of 2013, Pub. L. 113-4, title I, $ 107(b),

Mar. 7, 20L3, t27 Stat. 77. More specifi.cally, 18 U.S.C. * 2261A(2) covers what is

commonly referred to as "cyberstalking," and makes       it a federal crime when one:
           . with the intent to kill, injure, harass, intimidate, or place under
                surveillance with intent to   kill, injure, harass, or intimidate another
                person;

           . uses the mail, any interactive           computer service        or   electronic
                communication service or electronic communication system of interstate
                commerce, or any other facility of interstate or foreign commerce;

           o    to engage in a course ofconduct that places that a person in reasonable
                fear of the death of or serious bodily injury or auses, attempts to cause,



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                 or would be reasonably expected to cause substantial emotional distress
                 to such person person, L3 U.S.C. * 226LA(2XA) and (B).

         6.      Title 18, United States Code, Section 2266(2) defines the required
"course of conduct," as that term is used          in   18 U,S.C. g 22614(2), as "a pattern of

conduct composed of two or more acts, evidencing a continuity of purpose."

         7.      The Wiretap Act defines the term "electronic communication," as that

term is used in 18 U.S.C. g 226tA(2), as "any transfer of signs, signals, writing,

images, sounds, data, or intelligence of any nature transmitted in whole or in part by

a wire, radio, electromagnetic, photoelectronic or photooptical system that affects

interstate or foreign commerce." L8 U.S.C. S 25tO(12). The term "electronic

communication service," as that term is used ir1 18 U.S.C. g 226LA(2), is defined in

the Wiretap Act at 18 U.S.C. $ 2510(15).as "any service which provides to users

thereof the ability to send or receive wire or electronic communications." An

"electronic communications system of interstate commerce"                is defined under 18
U.S.C.   $   2510(14) as "any wire, radio, electromagnetic, photooptical or photoelectronic

facilities for the transmission of wire or electronic communications, and any computer

facilities or related electronic equipment for the electronic storage of                 such

communications."l


1 I   know from my training and experience, as well as from publicly available
information, that text messages are a form of electronic communication offered by
cellular service providers, such as T-Mobile, which as discussed below, is a cellular
service provider involved in the transmission and receipt of certain text messages
between JACKSON and Victim A on or about February 16 and L7, 20L8. More
specifrcally, I        know      from such sources             as https://www.t-
mobile.com/company/company-info/overrieil, that T-Mobile IJS, Inc., ("T-Mobile") is
headquartered in Bellevue, Washington. T-Mobile provides an electronic


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II.    JACKSOI\PS USE OF TEXT MESSAGES                        TO THREATEN AND
       CYBERSTALK VICTIM A

       8.    According to information that Victim        A provided to law enforcement
officers on February   17   ,2018, Victim A is employed as a United States Postal carrier

at the Post Ofiice located at L23 Indianwood Boulevard in Park Forest, Illinois.
Victim A said that she had been in a relationship with JACKSON, whom Victim A

called "Tank." According to Victim A, JACKSON is married but JACKSON has also

been Victim A's boyfriend.

       9.    Victim A told officers that approximately two weeks ago, on or about

February 4, 2018-which was Super Bowl Sunday-Victim A was in her home in

University Park, Illinois, along with Individual    A. On that day, according to Victim
A, JACKSON came unexpectedly to Victim A's home and kicked in Victim A's door.

Victim A told officers that JACKSON hit Victim A on her left eye and then JACKSON

pulled out a gun on both Victim A and Individual A.

       10.   As discussed below, JACKSON was interviewed by law enforcement

officers on February 17, 20L8, after JACKSON was arrested and Miranndized.z


communication system of interstate commerce and an electronic communication
service because, among other things, T-Mobile "is a nationwide provider of wireless
voice, messaging, and data services capable of reaching over 308 million Americans
where they live," and it provides such "wireless voice, messaging, and data seryices"
to approximately 69.6 million customers via T-Mobile's "nationwide 4G LTE
network. " S e e https ://www. t-mobile. com/company/company-info/overvied.
2  Park Forest Police officers arrested JACKSON on February L7,2018, and held
JACKSON in custody at the Park Forest Police Department. Before JACKSON
answered any questions, offi c ers Mirandized JACKSON. JACKSON signed a written
Miranda waiver at approximately LO:2L o.ffi., on February L7,2018. JACKSON then
voluntarily provided a statement to officers, which the officers typed. Within the
typed statement, JACKSON acknowledged, "I have read this statement consisting of


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According to apost-Miranda written statement that JACKSON provided to the Park

Forest Police Department on February 17,20L8, JACKSON stated, in part, that

      . . . approximately 2 weeks earlier IJACKSONI went to Mctim A'sl house in
      University Park and kicked open her door, but afber Mictim Al told
      UACKSONI that a stalker named "Shades" had intruded into her home.
      During this time, [JACKSON] observed [Victim A] in the residence with
      another man [Individual A], whom [Victim A] invited inside. After
      IJACKSONI discovered this[,] UACKSONI threatened to "bust [Victim A's]
      face in with UACKSON's] gun" while flashing the gun at lVictim A].

However, JACKSON further stated in February         17   ,2018 statement to Park Forest
Police officers, that, although JACKSON flashed the gun at Victim A, JACKSON

claimed he "never pulled out the firearm, pointed   it at [Victim A] or touched her with
it" during the February 4,2018 incident at Victim A's home.
      11. In addition, on February t7,20L8, JACKSON             was Mirandized by U.S.

Postal inspectors (including your affiant). In reference to the February 4,2018

incident at Victim A's home, JACKSON told inspectors that JACKSON came over to

"check on her and this guy [Individual A] was there.s We had words and        I slapped



3 pages, and I affirm to the truth and accuracy of the facts contained therein."
JACKSON signed his name on the statement, and added a handwritten addition at
the end (also followed by JACKSON's signature), which reads: "I have been treated
good by the Park Forest Police Department, as they have provided me with water and
food to eat. I have been given the opportunity to review this statement and make any
changes. I affirm that the information contained within this statement is true and
accurate information provided by me."
3   Postal inspectors read JACKSON his Mirando rights while JACKSON was in
custody at the Park Forest Police Department following JACKSON's arrest on
February 17, 20t8. JACKSON waived }ris Miranda rights in writing to Postal
inspectors at approximately 11:16 a.ffi., on February 17, 20L7, and then JACKSON
voluntarily provided statements in response to the Postal inspectors' questions
beginning at approximately tt:L7 a.m. that day.
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Mctim Al with an open hand." JACKSON also said that JACKSON pulled his gun
offwith the holster, too, and told Victim A, "I should hit you with the butt of this gun."

JACKSON further told inspectors that the incident on Super Bowl Sunday was

"physical" and that JACKSON "did strike Mictim         Al." Similarly, on Febrtary     17,

20L7 ,when JACKSON told Park Forest Police officers about this previous Super BowI

Sunday incident, JACKSON said that he "threatened to'bust Mictim.{s] face in with

UACKSON'sI gun."'

      12.    Victim A told police officers on February 17, 20L8, that JACKSON is

becoming unstable.

      13.    JACKSON told Postal inspectors on February 17, 2018, in apparent

reference to JACKSON's conduct toward Victim A, that, "This started getting out of

hand since the last month." JACKSON said he is married but has "been in love with

[Victim A] for a long time."

      14.    Victim A told police officers on February t7,2018, that Victim A began

to receive phone calls from JACKSON starting at approximately 9:30 p.m.,               on

February 16, 201-8. In these nighttime phone calls on February 16, 2018, JACKSON

told Victim A, among other things, that JACKSON was coming over to Victim A's

house. Victim A has a pink Apple cell phone, which I have observed, with T-MobiIe

as Victim A's cellular network provider. According to Victim A, Victim            A   had

previously entered JACKSON's nickname, "Tank," into Victim A's cell phone contacts

list on Victim's cell phone. As a result, when Victim A received a phone call or text

message on her cell phone from JACKSON, then such communications appeared as




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coming from "Tank." Victim A told police officers that JACKSON has two phone

numbers, (312) 536-)0(78 and (414) 397-)0(49, both of which Victim A had previously

entered   in her cell phone contacts list under JACKSON. According to Victim          A,

JACKSON has a personal Apple cell phone associated with JACKSON's phone

number (312) 536-)0(78, and JACKSON has an Android work cell phone associated

with JACKSON's phone number (4L4) 397-)0(49. According to Victim A, JACKSON

has Verizon Wireless and T-Mobile cellular services.

        15.   According to Victim A, Victim A left her home at night on February L6,

2018, after JACKSON had called to notifr Victim A that JACKSON intended to go to

Victim A's home.

        16.   Victim A told police officers that, after JACKSON's phone calls that

began at approximately 9:30 p.m., on February L6,2018, JACKSON then engaged           in

a series of text messages to   Victim A throughout the night, including during the early

morning hours of February l7 ,20L8. I have reviewed those text messages on Victim

.{s   Apple cell phone, which show multiple text messages to Victim             A   from

JACKSON's contacts name, "Tank."4 Specifically, JACKSON sent a text message to



a   On the morning of February L7,20L8, when Postal inspectors met with Victim A,
Postal inspectors reviewed some of the text messages between JACKSON and Victim
A. Postal inspectors took a series of photographs that show JACKSON's text
messages from February 16-17,2018. In total, Postal inspectors took approximately
1-9 photographs of the text messages on Victim A's cell phone. Some of those
photographs of JACKSON's text messages are contained within the affidavit. The l-9
photographs bear time stamps on Victim A's cell phone ranging between 10:20 a.m.
and 10:22 &.ffi., which correspond to the time frame when Postal inspectors reviewed
and photographed the text messages on February t7,2018 (rather than the actual
time frame when JACKSON sent the text messages).
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Victim A at approximately 9:06 p.m., on February 16,20t7. Thereafter, beginning at

approximately L2:28 o.ffi., on February   17   ,20L8, JACKSON texted Victim A a series

of messages, some of which contained photographs that JACKSON took from         within

Victim A's home when Victim A had fled elsewhere. According to Victim A, Victim

A's adult son allowed JACKSON into Victim A's home in the early morning hours of

February L7,2018. Below are some of the photographs JACKSON texted to Victim

A on February 17, 2A18, which include photographs taken from within Victim A's

bedroom:




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      L7.    JACKSON also texted Victim A a photograph, as shown below, and

wrote, "I know you with that [expletive] just call me back[.] teil w[h]at   it really is
with us[.] Im here until you come home[.] I'm telling you." In addition, as shown

below, JACKSON texted Victim A a photograph of Victim A's personal effects and

wrote, "This is the shit I know you put on w[h]en you out and it's here[.] I'm waiting?

I told you I was coming."
                                                                          ' ' I ?r   \
                             ffi"tr




      18.    Then, as shown below, JACKSON threatened Victim A and wrote in a

chain of text messages,   "I'll be here w[h]en you get here"; "I'm gonna fuck you up";




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Bitch, I'm going to kill you I'm telling you now"; "Bring him with u please"; "I got

something for the both of yall just come home."




      19.   JACKSON's text messages continued with demands to know Victim A's

Iocation. Victim A eventually responded via text and stated, among other things, "I

told you to go home. And I knew you was coming that's why I   left. I was in the bed
layrng down. You not going to tell me what you gonna do . . . Go home."




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       20.        JACKSON texted further: "Can you talk now[?] . . . Why can't you and

him face me Right now[.] I see that you got ur over night bag with you U come home."

Victim A responded:

       My work bag was left in my car. And I got on my boots and coat. Who is him?
       Tank[,] I'm not [a]bout to be hollering with you at no 2:30 in the morning. What
       overnight bag[?l All my bags is in my house. I am going home now that you
       left.

       2L.        JACKSON then wrote back via text, "[Victim A] you know me[.] I don't

see your snowsuit      I   see   your lboots] I don't see your post office jacket[.1 bitch who do

you think your [playing with] I'm here I'm outside come home." Victim A responded,

"That was left in my car with my car bag on my passenger seat. Tank have a good

night." JACKSON continued in response, "so your snow suit better be in your car[.]

[it] is not in your house . . . tossed everything in your room in your apartment[.] ask

you son[.]   I   am here   waiting[.] Where you coming from to be exact[?]"

      22.        Victim A then texted, "And you in there acting out like that with my son.

I advise   you to go home frfu.' Victim A later texted", "I left Mictim A's housel so that

when you came        I would     be gone. Because       I   asked you not to come." Victim A also

wrote to JACKSON, "Tank[,] go home," and that Victim A would not return to her

home "as long as you uACKSON] there." Despite Victim A's requests to JACKSON

that JACKSON stop and leave Victim A's house, JACKSON continued to send a series

of text messages in which JACKSON, among other things, demanded to know when

Victim A would return home and wrote, "See you think you got away with the other

shit[.] that's what you think but you are in for a rude awakening about that[.] where

are you now[?] unblock me so we can            talk." JACKSON wrote another string        of text



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messages to Victim A (to which Victim A did not respond), including, among other

statements, "Girl[,] fuck you . . . I may be in love with you but I am not stupid[Iyl in

love with you"; "you're not here cause I'm here").

       23.    According to JACKSON's February t7,2Ol8 interview with inspectors,

JACKSON admitted post-Miranda that JACKSON called and texted Victim A the

previous night and that he remained at Victim A's house until approximately 4:00

&.ffi., on February t7,2018.

 JACKSON'S lJnannounced February 17,                  201-7   Visit to Victim A's Job Site
       24.    As part of Victim A's interview with law enforcement on February 17,

2018, Victim A said that, on the morning of February 17,2018, Victim Awas at work

at her Post Offi.ce at   1^2S   Indianwood Boulevard in Park Forest, Illinois. According to

Victim A, between approximately 8:L0 a.m. and 8:15 a.m. (which was a few hours

after Victim A had received from JACKSON the series of texts described above),

Victim A was standing at her workstation. At that time and location, Victim A said

that JACKSON suddenly appeared next toVictim A. Among other things, JACKSON

told Victim A, 'You think I'm fucking playing with you. I'm going to make your life

hell." Victim A said that the postmaster subsequently arrived on the          scene and told

JACKSON to leave, which JACKSON eventually did. Before JACKSON left the Post

Office, Victim A told officers that JACKSON asked Victim A, 'What fucking [postal

deliveryl route you on today?"

       25,    JACKSON told Postal inspectors on February 17, 20L8,            that-prior to
JACKSON's entry into Victim A's Post Office facility at L2S Indianwood Boulevard




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 in Park Forest, Illinois-JACKSON frrst pulled his vehicle into the dock area at the

 exterior of the Post Office. JACKSON said that he parked in a lane in front of a

 Postal delivery   truck. JACKSON told inspectors that he then walked in the back
 doors of the Postal facility and spoke to two employees. According to JACKSON,

JACKSON then looked around, saw Victim A, and went over to Victim A. JACKSON

 said that he told Victim A that they needed to   talk.   Then, in apparent reference to

the postmaster, JACKSON told Postal inspectors that a "lady" came over and asked

JACKSON to leave. According to JACKSON, JACKSON shook this woman's hand

and told the woman that she was "cute." JACKSON told inspectors he then asked

Victim A to come outside to talk, but then JACKSON left the Post Office and parked

his car on the street. JACKSON told, inspectors that he was "pissed" and that

JACKSON had told Victim A directly at the Post Office that morning, "you gonna

wish you were in hell." According to JACKSON's explanation of these events to Park

Forest Police on February L7, 20L8, JACKSON told Victim A at the Post Office,

"After I'm done with you, your life is gonna be hell."

      26.     JACKSON told Park Forest Police officers that earlier that morning of

February 17, 2018, when JACKSON "entered onto the property of the post office,

IJACKSONI was armed        with a Rock Island Armory      1911 semi-automatic firearm

which he had in a holster on his front hip." Then, according to JACKSON's February

t7 ,2018   written statement to Park Forest Police:

      Prior to exiting his vehicle, [JACKSON] unholstered the firearm and placed it
      into the front cupholder of his vehicle. This was not a locked compartment.
      UACKSONI then placed a towel over the firearm in an effort to conceal it while
      in his vehicle. Afterwards UACKSONI exited his vehicle and walked to the


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      rear loading dock, where he entered into the post office building through the
      rear doors.

JACKSON then located Victim A, and confronted her, as described above.

      27.    According to Victim    A and at least one of Victim A's Post Offrce
colleagues, personnel at the Post Office contacted 91L    in   response to JACKSON's

appearance on February 17,20L7. Subsequently, Park Forest Police offrcers arrived

near the Post Office and located JACKSON seated within JACKSON's vehicle. The

officers observed a firearm within a holster connected to JACKSON's hip. The officers

arrested JACKSON and held him in custody at the Park Forest Police Department.

      28.    While in custody at the Park Forest Police Department and following

JACKSON's Mirando waiver, JACKSON told the officers that, after JACKSON teft

Victim A's Post Office the morning of February 17, 20L8, JACKSON "entered his

vehicle and backed down the driveway [of the postal facility lot] to Lester Road."

JACKSON told officers that JACKSON "then drove to the road directly behind the

post office (Leims Road), where he waited for Victim A so they may   talk." According
to JACKSON, "[d]uring this time UACKSONI placed the firearm back in his holster,

which was still connected to his belt on his hip" and that "[w]hile waiting [for Victim

Al the officers came upon [JACKSON]."

      29.    JACKSON told Postal inspectors on February 17,20L8, that his phone

number is (414) 397-><x49. As discussed above, that is the same phone number from

which Victim A received phone calls and text messages from JACKSON under the

contact name "Tank," including on February 16 and. !7,2018.




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                                   Conclusion

      30.    Based on the above information,       I   respectfully submit that there is

probable cause to believe that from on or about February 16, 2018, through at least

on or about February Ll , 2018, the defendant LAWRENCE L. JACKSON, with the

intent to kill, injure, harass, intimidate, used an interactive computer service or

electronic communication service or electronic communication system of interstate

commerce, or any other facility of interstate commerce, nzrmely, cellular telephone

networks and text messages, to engage in a course of conduct that placed Victim A in

reasonable fear of death or serious bodily injury, or caused, attempted to cause, or

would be reasonably expected to cause substantial emotional distress to Victim A.

                                      FURTHER AFFIANT SAYETH NOT.



                                      Inspector,
                                      United States Postal Inspection Service


SUBSC                   ORN to before me on February 20,20L8.


SHEILA
United States M




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